                                                             Case 3:15-cv-00903-JM-RBB Document 3 Filed 09/10/15 PageID.14 Page 1 of 1



                                                                                      UNITED STATES DISTRICT COURT
                                                                                    SOUTHERN DISTRICT OF CALIFORNIA


                                                            BRIAN A. BACCHUS,
                                                                                                                  Docket No: 3:15-cv-00903-JM-RBB
                                                                                  Plaintiff,

                                                                                     vs.

                                                            NELSON, WATSON & ASSOCIATES, LLC,

                                                                                 Defendant.


                                                                NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

                                                                   Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff BRIAN
                         100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERS PLLC




                                                            A. BACCHUS, through their counsel, hereby give notice that the above captioned action is
                          GARDEN CITY, NEW YORK 11530




                                                            voluntarily dismissed without prejudice.


                                                            DATED: September 9, 2015

                                                                                                        BARSHAY SANDERS, PLLC
                                                                                                        By: /s Craig B. Sanders
                                                                                                        Craig B. Sanders
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                                                                                                        Garden City, New York 11530
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                                                                                                        Attorneys for Plaintiff
                                                                                                        Our File No.: 108795
